Case 1:25-cv-20757-JB Document 49-1 Entered on FLSD Docket 05/03/2025 Page 1 of 9




                               EXHIBIT “1”
Case 1:25-cv-20757-JB Document 49-1 Entered on FLSD Docket 05/03/2025 Page 2 of 9




                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        (MIAMI DIVISION)


  JANE DOE,
                                                         CASE NO: 1:25-cv-20757-JB/Torres
  Plaintiff,

  v.

  STEVEN K. BONNELL II,

  Defendant.
  ____________________________________/

                UNSWORN STATEMENT UNDER PENALTY OF PERJURY OF
                   PLAINTIFF JANE DOE PURSUANT TO 28 U.S.C. § 1746


  I, Jane Doe, declare as follows:

           1.     I am over 18 years of age, and competent to provide testimony under oath.

           2.     I have personal knowledge of the matters herein and, if called to testify at the trial

  of this matter, I could competently testify as to the facts contained in this affidavit.

           3.     The following are my responses and clarifications to the misstatements and false

  allegations made by Defendant in his declaration [ECF No. 42-1].

           4.     RESPONSE TO PARAGRAPH 5: He added me as a friend first. Then I sent him a

  direct message because I was surprised. He references and includes a private direct message that I

  sent to Dan Saltman (Destiny’s business partner) that I had never sent videos of other people to

  Destiny, which is completely taken out of context by Defendant. This statement was not supposed

  to be public, and the full context is that Dan is claiming everyone was sharing pornographic

  materials of others in a nonconsensual manner. Attached hereto as Exhibit A is a true and correct

  copy of the entire conversation from which that part of Exhibit A to his declaration was taken.
Case 1:25-cv-20757-JB Document 49-1 Entered on FLSD Docket 05/03/2025 Page 3 of 9




  JANE DOE v STEVEN BONNELL
  CASE NO: CASE NO: 1:25-cv-20757 JB
  Page 2

          5.        Destiny has distorted the context and content of the DMs in order to malign me.

  Destiny is well aware that the videos I sent him were not with multiple third parties, but only with

  my former boyfriend who had given me consent to share.

          6.        RESPONSE TO PARAGRAPH 6: The referenced Exhibit B is incomplete and thus

  misleading. He sent videos of him and Melina to me first. Also, I have never claimed that the

  videos were filmed without my consent so he could only have included this assertion and the

  exhibit for malicious reasons. The fact that he is including these private messages, not even under

  seal, has only compounded the pain and emotional distress that he has already caused me.

               7.   RESPONSE TO PARAGRAPH 7: This is extremely misleading and mostly

    false. Although I did not object to him showing the videos to Melina, I was very clear that

    they should not be shared with anyone else. I was also clear that I would only share them with

    my former boyfriend. This is also false because he knew I had not had, and did not have,

    “other sex partners,” but rather just my former boyfriend.

               8.   Moreover, on February 26th 2020, prior to meeting him, I explicitly told him:

    “publicly I’m okay with people knowing we’re hanging out but if anyone asks questions about

    having sex or anything along those lines I rather deny and keep that private between us.” We

    had multiple conversations about active consent and the importance of it. Attached hereto as

    Exhibit B is a true and correct copy of the correspondence on February 26, 2020, in which

    Defendant is notified of my desire for privacy. Additionally, on March 5th, 2024, when

    another content creator named Lav claimed Destiny and I had sexual relations, I asked

    Destiny if he told her, or anyone, about us being together. He denied it. He deleted his side of

    the messages, but here is mine. Attached hereto as Exhibit C is a true and correct copy
Case 1:25-cv-20757-JB Document 49-1 Entered on FLSD Docket 05/03/2025 Page 4 of 9




  JANE DOE v STEVEN BONNELL
  CASE NO: CASE NO: 1:25-cv-20757 JB
  Page 3

    showing my side of the conversation which occurred on March 5, 2023, where I again express

    concern for privacy.

           9.   Destiny has admitted it is “scummy” to send explicit material without explicit

    consent. On January 4, 2021, Destiny discusses online how it was scummy and wrong for

    him to send pornographic videos of his wife at the time (Melina) without getting explicit

    consent      from      her     about      each     woman       he     sent     them       to.

    https://www.youtube.com/watch?v=UEyGjmSuS3g&t=837s

           10. RESPONSE TO PARAGRAPH 8: Defendant admits he sent the video of me to a

    random fan, Rose, but tries to make himself sound good because he allegedly never told her

    my name. I am identifiable simply by the fact that my face is in the video and that I have

    multiple identifiable moles. Attached hereto as Exhibit D is a true and correct copy of

    statements made online on November 29, 2024 after the video was published where I was

    identified not just by my face, but because of my moles.

           9. RESPONSE TO PARAGRAPH 9: Defendant claims that his transmission of the

    video occurred on April 9, 2022. We have no way of confirming this without looking at the

    logs. Sending media via Discord is not the same thing as sending media through text

    message. When you send a media file through Discord (a photo, video, etc), the file you send

    automatically creates a media link that can be shared with anyone who has a Discord account.

           10. This means that Rose could copy and paste the media link anywhere, and a person

    simply would have to click it to gain access to it. This is different from sending a video

    through text messages, where a person would have to download and then reupload if they

    want to continue sharing the files with others.
Case 1:25-cv-20757-JB Document 49-1 Entered on FLSD Docket 05/03/2025 Page 5 of 9




  JANE DOE v STEVEN BONNELL
  CASE NO: CASE NO: 1:25-cv-20757 JB
  Page 4

           11. This means that when destiny sent that video to rose, he essentially created a “live

    link” where anyone that has a discord account could access this url. This link had to be

    accessible by late 2023, when “the hacker,” solotinyleaks, gained access to the account. If

    this link was not accessible by late 2023, then there would be no way for the hacker to have

    gotten the video. In other words, media sent on discord should be treated like a google drive

    link, because it functions effectively the same way. Destiny knows this is how discord

    functions, and knows of this security breach, seeing that he routinely posts discord

    media/attachment links for his public chat to access.

           12. RESPONSE TO PARAGRAPH 9 AND 10: Defendant falsely claims that he only

    shared my video once, when we now know it was at least two times. His claim that he will

    not share the video again also has no credibility and provides me with no assurance based on

    his history of reckless sharing without consent and then lying about it.

            13. RESPONSE TO PARAGRAPH 11: False- I have never claimed that 15 potential

    witnesses told me they received the video of me. He self-servingly claims the video he offered

    to send Hannah Brooke was not the video of me but based on his other proven false statements

    he has no credibility. He explicitly tells Hannah he will send her material that was leaked –

    ie., my video. Indeed, when asked about these messages with Hannah in his community chat,

    and what he would do if Hannah had said yes, she wanted those videos, Destiny responds

    with “I'D PROBABLY JUST TELL HER TO GO TO KF [Kiwi Farms] LOL”. Attached

    hereto as Exhibit E is a true and correct of Defendant’s statement on January 30, 2025.

            14. RESPONSE TO PARAGRAPH 13: My face is clearly visible. I was in denial.

    People identified me within hours of the leaks.
Case 1:25-cv-20757-JB Document 49-1 Entered on FLSD Docket 05/03/2025 Page 6 of 9




  JANE DOE v STEVEN BONNELL
  CASE NO: CASE NO: 1:25-cv-20757 JB
  Page 5

           17. RESPONSE TO PARAGRAPH 15: This is FALSE. Bonnell knows I was

    desperately trying to get the video removed. Attached hereto as Exhibit F are true and correct

    copies of the correspondence on December 5, 2024, between the Defendant and myself

    detailing my efforts to have the video removed.

           18. RESPONSE TO PARAGRAPH 19: First, my settlement demand should have

    remained confidential but apparently nothing is confidential or private for Destiny. That

    demand was made before the complaint was filed, and Destiny is well aware that my attorneys

    told his attorneys I would be more than willing to listen to a reasonable offer. Moreover, I

    made the initial demand because Destiny informed me that if I wanted a settlement, I would

    have to retract my substack and apologize to him. I was told that a settlement offer was

    contingent on me helping rebuild Destiny’s image.

           19. RESPONSE TO PARAGRAPHS 20 AND 21: Destiny’s claims that he has

    preserved evidence are very suspect. In addition to discord logs being deleted, Destiny

    apparently deleted his google drive as well. Destiny repeatedly admits that he has a google

    drive where he puts pornographic material. And the individual who leaked the videos in the

    initial kiwifarm leaks, solotinyleaks, confirmed they were from Destiny’s google drive that

    he shared with Rose.      Attached hereto as Exhibit G, is a true and correct copy of

    solotinyleaks’ post confirming this and confirming that it has since been deleted [by Destiny].

    I have a right to verify that google drive link and ensure that none of my materials were

    uploaded there.

           20. RESPONSE TO PARAGRAPHS 23 AND 24: I have never specified where

    people could find the leaked material online. Unlike Destiny who directly told over 1 million

    people what website to search for my leaked material, I never gave specifics on my substack.
Case 1:25-cv-20757-JB Document 49-1 Entered on FLSD Docket 05/03/2025 Page 7 of 9




  JANE DOE v STEVEN BONNELL
  CASE NO: CASE NO: 1:25-cv-20757 JB
  Page 6

    If a person read my substack and materials alone, they would not know kiwi farms was hosting

    the leaked content. Attached hereto as Exhibit H is a true and correct copy of a social media

    post by Defendant on February 9, 2025, in which he informs the internet that the video is still

    on kiwifarms.

            21. Moreover, the most damage was done after the initial leaks were posted. In fact

    on November 30th after the initial posting in kiwifarms, the website crashed repeatedly as a

    result of the large number of viewers. Attached hereto as Exhibit I is a true and correct copy

    of a social media post by the kiwifarms account on November 30, 2024, specifically stating

    that the video of me has caused the website to crash. This was around two months prior to me

    announcing my lawsuit. There is no evidence indicating the website crashed after I posted my

    substack, nor anything of the sort.

            27. When the initial leaks were posted, and before I went public, I started receiving

    hundreds of harassing and hateful messages. Sizeable content creators that had tens of

    thousands to hundreds of thousands of followers were making public remarks identifying me

    in the video. Attached hereto as Exhibit J are true and correct copes of social media

    messages/posts which I received within the week after the kiwifarm leaks occurred.

          28.    Finally, I was forced to go public because two videos of me which contained my

  private messages were defaming me, claiming that I took hush money and that I didn’t care about

  other             victims:              https://www.youtube.com/watch?v=qUzXZtj7wBM&t=1s

  https://www.youtube.com/watch?v=1rObatoFVrA&t=3s

  These videos were gaining tens of thousands of views. In order to protect my reputation, I had to

  publicly come out with the truth. I also had no choice but to start a fundraising campaign in order
Case 1:25-cv-20757-JB Document 49-1 Entered on FLSD Docket 05/03/2025 Page 8 of 9




  JANE DOE v STEVEN BONNELL
  CASE NO: CASE NO: 1:25-cv-20757 JB
  Page 7

  to finance this suit against the Defendant, who has substantial financial resources at his disposal,

  and I do not have those resources.

         29. Although in Paragraph 22 Destiny claims to have suffered financial losses, I believe he

  has actively profited from this legal case because he uses it as content on his streaming platform

  on almost a daily basis.

         30. Destiny also knows that leaking nudes or private sexual DMs is “one of the biggest

  forms of weird backstabbing shit a person can do, one of the worst things a person can do.” He

  also believes there are “almost no secrets” in the streaming world, that if you tell one person a

  secret, soon everyone knows it. Destiny knew I wanted to keep our sexual interactions private.

  Despite knowing this, despite knowing the harm it would cause, despite believing that telling one

  person a secret in the streaming world would mean that everyone would eventually know, he still

  chose to send my video to other people without my consent.

         31. I believe that Destiny’s repeated behavior of nonconsensually distributing materials

  without the consent of multiple women, despite knowing about the importance of explicit consent

  and knowing the harm it can cause others, is inherently a malicious act in itself.

         32. Since the events of November 29th 2024, I have been in a continuous state of grief,

  mourning the person I used to be. I no longer wake up in the mornings excited, thinking about how

  I could make the world a better place. My first thoughts every morning revolve around suicide and

  anxiety. I wonder what other unexpected news might be released, and whether it will reach my

  friends and family. I think about the thousands of people who saw me at some of the most

  vulnerable moments of my life without consent. I think about how I didn’t even get a chance to

  say no. I think about how this will impact me for the rest of my life.
Case 1:25-cv-20757-JB Document 49-1 Entered on FLSD Docket 05/03/2025 Page 9 of 9




  JANE DOE v STEVEN BONNELL
  CASE NO: CASE NO: 1:25-cv-20757 JB
  Page 8

         33.     I do not want to live in a world where people like Destiny are able to harm others

  free of consequence.



         34. I have seen how Destiny has used his community to harass and threaten others who

  have turned against him in this case. How he has directly threatened to harm others, and has urged

  his community to put the safety of other content creators at risk by encouraging the doxxing of

  certain individuals. He has posted this information in his online chat, with seemingly no remorse.

         35. I also fear that Destiny wants to use his community to harm me. He continues to profit

  off my pain, revealing private and embarrassing sexual messages of my past to an audience of

  hundreds of thousands of people. He continues to speak openly about the case, and as recently as

  a few days ago, openly mocks me online. Attached hereto as Exhibit K is a true and correct copy

  of a social media post made by the Defendant on April 28, 2025 in which he is obviously mocking

  my prior post. I know he wishes harm upon me for speaking the truth.

         Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury under the laws of the United

  States of America that, to the best of my knowledge and understanding, the foregoing is true and

  correct.

         Executed in Miami, Florida, this 2nd day of May, 2025.



                                               ____________________________________
                                               Jane Doe
